                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR06-4099-MWB
 vs.                                                ORDER CONCERNING
                                                 MAGISTRATE’S REPORT AND
 LEOBARDO ROJAS-HERNANDEZ,
                                                RECOMMENDATION REGARDING
                Defendant.                       DEFENDANT’S GUILTY PLEA
                                  ____________________


                       I. INTRODUCTION AND BACKGROUND
        On November 16, 2006, an indictment was returned against defendant Leobardo
Rojas-Hernandez charging him with conspiracy to distribute 500 grams or more of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, and
distributing 50 grams or more of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1)
and 841(b)(1)(B). On March 21, 2007, defendant appeared before Chief United States
Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts 1 and 3 of the
indictment. On this same date, Chief Judge Zoss filed a Report and Recommendation in
which he recommends that defendant’s guilty plea be accepted. No objections to Chief
Judge Zoss’s Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Chief Judge Zoss’s recommendation to accept defendant’s plea in this
case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report




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and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition to
             which specific written objection has been made in accordance
             with this rule. The district judge may accept, reject, or modify
             the recommended decision, receive further evidence, or
             recommit the matter to the magistrate judge with instructions.
FED. R. CIV. P. 72(b). In this case, no objections have been filed, and it appears to the
court upon review of Judge Zoss’s findings and conclusions, that there is no ground to
reject or modify them. Therefore, the court accepts Chief Judge Zoss’s Report and
Recommendation of March 21, 2007, and accepts defendant’s plea of guilty in this case to
Counts 1 and 3 of the indictment.
      IT IS SO ORDERED.
      DATED this 5th day of April, 2007.


                                          __________________________________
                                          MARK W. BENNETT
                                          U. S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA



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